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Myex. com - Google Search                                                Page 1 of 1
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             Myex. com                                                                                                 Sign in



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             About 66,300,000 results (1.01 seconds)


             MyEx.com! Naked Pics of Your Ex
             www.myex.com/
             Get the dirt before you get hurt or submit your ex gf and bf!

                    Just Girls                                         Submit your ex
                    Submit your ex Sex Tapes Just                      Add Your Ex: Drag and drop Photos
                    Girls Just Guys Get Laid Live ...                  and/or Videos, you can ..

                    Sex Tapes                                          Just Guys
                    Submit your ex Sex Tapes Just                      Rick Hefner is just a jerk. Sorry not
                    Girls Just Guys Get Laid Live ...                  sorry but you're a total ass. 1 ...

                    More results from myex.com »


             MyEx.com - Wikipedia
             https://en.wikipedia.org/wiki/MyEx com
             MyEx.com is a controversial, free revenge porn website focusing on nude photographs of people
             posted by former lovers along with their real names.


             MyEx - Myex.com - Amateur Porn Site - The Porn Dude
             https://theporndude.com › Amateur Porn Sites
             Amateur Porn Sites. ... My Ex is a revenge porn site where you can submit your ex or view other
             people's and although ThePornDude isn't sure if it's completely user submitted, it's quite fun looking
             through all of the shamed exes! ... Amateur Porn Sites Like MyEx.


             MyEx.com Post Removal | Reputation Stars
             reputationstars.com/what-we-do/reputation-repair/myex-com-post-removal/
             About MyEx.com: MyEx.com is a site that allows anyone to post pictures and information about their
             past girlfriends or boyfriends. This is better known as.


             MYEX, MY HEX: A TRIP INTO THE CAULDRON OF REVENGE PORN ...
             www.cagoldberglaw.com/myex-my-hex-a-trip-into-the-cauldron-of-revenge-porn/
             Mar 13, 2014 - The website is myex.com. I was really torn about whether to write that since the last
             thing I want to do is promote it or draw others to Betty's body ...


             REPORT MY EX – Get Revenge! Post or find a cheater in your area.
             www.reportmyex com/
             7 hours ago - ReportMyEx.com exposes cheaters, players and unreliable people to warn their current
             partners about the person they are dating.


             Revenge Porn Site MyEx.com Sued For Copyright Infringement ...
             adamsteinbaugh.com/.../revenge-porn-site-myex-com-sued-for-copyright-infringeme...
             Mar 7, 2014 - Revenge porn site MyEx.com, along with Google and Yahoo!, has been ... MyEx.com
             is one of few remaining websites dedicated to so-called ...


             MyEx.com Lawsuit: Suing the non-existent owner of a revenge porn
             https://www.internetreputation com/.../myex-com-lawsuit-suing-the-non-existent-own...
             Jul 9, 2014 - MyEx.com with their co-accused Google and Yahoo have been sued because a recent
             complaint by a woman claiming that the site did not ...




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https://www.google.com/search?q=Myex.+com&oq=Myex.+com&gs_l=psy-ab.3...134390... 9/11/2017
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